                                                                             Case 2:24-cv-02886-WLH-SK         Document 225   Filed 01/16/25   Page 1 of 3 Page ID
                                                                                                                     #:3064



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                                                                              18                             UNITED STATES DISTRICT COURT

                                                                              19                            CENTRAL DISTRICT OF CALIFORNIA

                                                                              20 DAVID HOUGH; et al.                           )
                                                                                                                               ) Case No.: 2:24-cv-02886-WLH-SK
                                                                              21                                               )
                                                                                                                Plaintiffs,    ) STIPULATION BETWEEN
                                                                              22                                               ) PLAINTIFFS AND DEFENDANT
                                                                                            vs.                                )
                                                                              23                                               ) MATTHEW CROUCH
                                                                                                                               ) REGARDING RESPONSE
                                                                              24 RYAN CARROLL; et al.                          ) DEADLINE TO SECOND
                                                                                                                               )
                                                                              25                                Defendants.    ) AMENDED COMPLAINT, ECF.
                                                                                                                               ) NO. 173
                                                                              26                                               )
                                                                                                                               )
                                                                              27                                               ) Presiding Judge: Hon. Wesley L. Hsu
                                                                                                                               ) Trial Date: N/A
                                                                              28

                                                                                   P:01793735.1:90D08.002                   -1-               Case No. 2:24-CV-02886-WLH-SK
                                                                                   STIPULATION TO EXTEND TIM TO FILE RESPONSIVE PLEADING TO SECOND AMENDED COMPLAINT
                                                                             Case 2:24-cv-02886-WLH-SK             Document 225      Filed 01/16/25   Page 2 of 3 Page ID
                                                                                                                         #:3065



                                                                               1            Pursuant to Local Rule 7-1, plaintiffs David Hough, et al. (“Plaintiffs”) and
                                                                               2 defendant Matthew Crouch (“Crouch”) hereby stipulate as follows.

                                                                               3            1.        Plaintiffs filed their initial complaint in this Court on April 9, 2024.
                                                                               4 ECF No. 1. They filed a first amended complaint (“FAC”) on May 20, 2024. ECF

                                                                               5 No. 56. The FAC named Crouch as a defendant for the first time.

                                                                               6            2.        On July 3, 2024, the Court approved a stipulation between Plaintiffs
                                                                               7 and Crouch in which Crouch waived service of a summons in this action and Crouch

                                                                               8 was given until September 30, 2024, to respond to the FAC.

                                                                               9            3.        On September 11, 2024, after Plaintiffs indicated that they intended to
Solomon Ward Seidenwurm & Smith, LLP




                                                                              10 file a Second Amended Complaint (“SAC”), Plaintiffs and Crouch stipulated,

                                                                              11 subject to the Court’s approval, to stay Crouch’s time to file a responsive pleading
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                                                                              12 until 30 days from the date Plaintiffs filed their then-anticipated SAC, ECF No. 136.
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                                                                              13 On September 26, 2024, the Court approved the Stipulation and set Crouch’s

                                                                              14 deadline to respond to the anticipated SAC for 30 days after the date of the SAC’s

                                                                              15 filing. ECF. No. 139.

                                                                              16            4.        On November 27, 2024, this Court granted Plaintiffs’ motion for leave
                                                                              17 to file the SAC. ECF No. 167.

                                                                              18            5.        On December 20, 2024, Plaintiffs and Crouch stipulated, subject to the
                                                                              19 Court’s approval, to stay Crouch’s time to file a responsive pleading until January

                                                                              20 17, 2025. ECF No. 192. On January 13, 2024, the Court approved the Stipulation

                                                                              21 and set Crouch’s deadline to respond to the SAC for January 17, 2025. ECF. No.

                                                                              22 221.

                                                                              23            6.        Plaintiffs and Crouch are in advance discussions of a prospective
                                                                              24 agreement that, once agreed to, would result in Plaintiffs voluntarily dismissing

                                                                              25 Crouch from this action. Nearly all material terms of the agreement have been

                                                                              26 agreed to.

                                                                              27 / / /

                                                                              28 / / /

                                                                                   P:01793735.1:90D08.002                   -2-               Case No. 2:24-CV-02886-WLH-SK
                                                                                   STIPULATION TO EXTEND TIM TO FILE RESPONSIVE PLEADING TO SECOND AMENDED COMPLAINT
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                                                                               1            7.        Plaintiffs and Crouch anticipate that (i) the agreement will be finalized
                                                                               2 in the coming days and (ii) Plaintiffs will voluntarily dismiss Crouch from this

                                                                               3 action on or before January 31, 2025.

                                                                               4            8.        To allow time to for Plaintiffs and Crouch to finalize the agreement and
                                                                               5 for Plaintiffs to thereafter voluntarily dismiss Crouch from this action, Plaintiffs and

                                                                               6 Crouch have agreed that Crouch’s deadline to respond to the SAC should be

                                                                               7 extended by three weeks, until February 7, 2025.

                                                                               8            Pursuant to L.R. 7-1 and 52-4.1, a separate proposed order to this effect is
                                                                               9 included herewith.
Solomon Ward Seidenwurm & Smith, LLP




                                                                              10            IT IS SO STIPULATED THROUGH COUNSEL OF RECORD.
                                                                              11 DATED: January 16, 2025                      SOLOMON WARD SEIDENWURM &
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                                                                              13                                              By:        /s/ Levi Y. Silver
                                                                              14                                                    LEVI Y. SILVER
                                                                                                                                    Attorneys for Defendant
                                                                              15
                                                                                                                                    Matthew Crouch
                                                                              16
                                                                                   DATED: January 16, 2025                    BANKS LAW OFFICE
                                                                              17

                                                                              18                                              By:         /s/ Nico Bank
                                                                              19                                                    Nico Bank (CA SBN: 344705)
                                                                                                                                    Attorneys for Plaintffs
                                                                              20

                                                                              21                                           ATTESTATION
                                                                              22
                                                                                            Pursuant to L.R. 5-4.3.4, I hereby attest that all other signatories listed, and on
                                                                              23
                                                                                   whose behalf the filing is submitted, concur in the filing’s content and have
                                                                              24
                                                                                   authorized the filing.
                                                                              25

                                                                              26
                                                                                                                                                      /s/ Levi Y. Silver
                                                                                                                                                       Levi Y. Silver
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                                                                                   P:01793735.1:90D08.002                   -3-               Case No. 2:24-CV-02886-WLH-SK
                                                                                   STIPULATION TO EXTEND TIM TO FILE RESPONSIVE PLEADING TO SECOND AMENDED COMPLAINT
